Case 2:14-cv-09764-RGK-PLA              Document 8          Filed 12/22/14          Page 1 of 2 Page ID
                                             #:253
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                                         CASE NUMBER:


VITALY IVANOVICH SMAGIN                                     2:14−cv−09764−R−PLA
                                        PLAINTIFF(S)

       v.
ASHOT YEGIAZARYAN

                                                             NOTICE TO FILER OF DEFICIENCIES IN
                                     DEFENDANT(S).
                                                                  ATTORNEY CASE OPENING




PLEASE TAKE NOTICE:

The following problem(s) have been found with your electronically filed document:

  12/22/2014                  1              Petition to Comfirm Foreign Arbital Award
Date Filed              Doc. No.         Title of Doc.
ERROR(S) WITH DOCUMENT:




Other Error(s):
Attachments 1 Memorandum, # 2 Declaration of Bruce Jackson, # 3 Exhibit 1 to Jackson
Decl., # 4 Exhibit 2A to Jackson Decl., # 5 Exhibit 2B to Jackson Decl., # 6 Exhibit 2C to
Jackson Decl., # 7 Exhibit 3 to Jackson Decl., # 8 Exhibit 4 to Jackson Decl., # 9 Request for
Judicial Notice should not have been attached. Each document should have been filed
separately. You are not required to take any action in response to this notice unless the Court so
directs.



                                                       Clerk, U.S. District Court



              − NOTICE TO FILER OF DEFICIENCIES IN ATTORNEY CASE OPENING −
Case 2:14-cv-09764-RGK-PLA     Document 8 Filed 12/22/14      Page 2 of 2 Page ID
Dated: December 22, 2014                By: /s/ Geneva Hunt
                                    #:254
                                            Deputy Clerk




             − NOTICE TO FILER OF DEFICIENCIES IN ATTORNEY CASE OPENING −
